

People v Jimenez (2022 NY Slip Op 06177)





People v Jimenez


2022 NY Slip Op 06177


Decided on November 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 03, 2022

Before: Acosta, P.J., Kapnick, Mazzarelli, González, Rodriguez, JJ. 


Ind No. 4969/16 Appeal No. 16613 Case No. 2018-575 

[*1]The People of The State of New York, Respondent, 
vLeslie Jimenez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ying-Ying Ma of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (John T. Hughes of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (James M. Burke , J.), rendered April 05, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 3, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








